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UNlTED STATES DISTRlCT COURT
SOUTHERN DlSTRICT OF NEW YORK

|n Re: Lyonde|| Chemical Case No. 16-cv-00518~DLC
Company Plaintiff,
-against-
Defendant.

NOTICE OF CHANGE OF ADDRESS

TO: ATTORNEY SERVICES CLERK AND ALL OTHER PARTIES

l have cases pending |:| l have no cases pending

Pursuant to Local Rule l.3 ofthis Court, please take notice ofthe following attorney information change (s) for:

Wi||iam A. Rome
FILL IN ATTORNEY NAME

My SDNY Bar Number is: WR9045 My State Bar Number is _§1§§§§§ _______

l am,
An attorney

|:| A Government Agency attorney
|:] A Pro Hac Vice attorney

FIRM INFORMATION (Include full name of firm (C)LD AND NEW), address, telephone number and fax number):

OLD FIRM: FIRM NAME: Hoffman & Po||ok
FIRM ADDRESS: 260 Madison Avenue, 22nd Floor,NY, NY10016
FIRM TELEPHONE NUMBER: 212-679-2900
FiRM FAX NUMBER: 212-679-1844 1__

NEW FIRM: FIRM NAME; Robinson Brog Leinwand Greene Genovese & G|uck P_C
FIRM ADDRESS: 875 Third Avenue, 9th F|oor, New York,NY10022
FIRM TELEPHONE NUMBER. 212- 603- 6300
FIRM FAX NUMBER: 212- 956- 2164

l will continue to be counsel of record on the above-entitled case at my new firm/agency.

':' lam no longer counsel ofrecord on the above-entitled case. An order withdrawing my appearance

was entered on by Judge_

/¢Y/;{;&/;Fw/ [/&WL

ATTORNEY S SIGNATURE

 

Dated: February 10, 2016

 

